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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                   AT COLUMBUS

  IN RE:                                        Case No. 19-52868

  Leonard Nyamusevya, Sr.                       Chapter 7
   fdba Academic I Am,
                                                Judge John E. Hoffman, Jr.
                    Debtor.




     RESPONSE TO DEBTOR’S MOTION FOR 21 DAYS SAFE HARBOR NOTICE
               PURSUANT TO FED. R. BANKR. P. 9011(c)(1)(A)
                 FILED SEPTEMBER 26, 2019 AS DOC. NO. 99

           (PROPERTY ADDRESS: 2064 WORCESTER COURT, COLUMBUS, OH 43232)

        Now comes Citimortgage, Inc. (hereinafter “Creditor”), and hereby files its Response to

 Debtor's Motion for 21 Days Safe Harbor Notice Pursuant to Fed. R. Bankr. P. 9011(c)(1)(A)

 filed herein with the Court on September 26, 2019 as PACER Docket No. 99 (“Motion”).

 Debtor’s Motion alleges Creditor’s September 20, 2019 Notice of Proposed Abandonment is

 “frivolous, unsupported, and fraudulently in bad faith and abuse of process.” However, the

 Notice of Proposed Abandonment is appropriate and consistent with the rules of this Court.

        This bankruptcy was filed on May 1, 2019 under Chapter 13 of the Bankruptcy Code.

 Attorney Harry W. Cappel of Dinsmore & Shohl LLP filed a Notice of Appearance, Request For

 All Notices, And Request For Special Notice and Inclusion on Mailing List on June 3, 2019 as

 PACER Docket No. 28. Attorney Nathan H. Blaske of Dinsmore & Shohl LLP filed Notice of

 Appearance, Request For All Notices, And Request For Special Notice and Inclusion on Mailing

 List on June 3, 2019 as PACER Docket No. 30.
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        Debtor filed a Notice of Voluntary Conversion to Chapter 7 on July 22, 2019. The

 Notice of Meeting of Creditors was filed on July 30, 2019 as PACER Docket No. 62. On

 September 6, 2019, Creditor presented an Abandonment Document to the Chapter 7 Trustee

 Christal L. Caudill. The 341 Meeting was conducted and concluded on September 12, 2019.

 On September 17, 2019, Creditor received an executed Abandonment from the Chapter 7

 Trustee, a copy of which is attached as Exhibit A.      On September 20, 2019, Creditor filed its

 Notice of Proposed Abandonment of Property as PACER Docket No. 91 notifying all parties that

 Creditor requested the Trustee to abandon certain real estate and that unless a written objection is

 filed with the Court within twenty-one (21) days stating a colorable basis for said objection, the

 Trustee may abandon the described real estate.

        Southern District of Ohio Local Bankruptcy Rule 6007–1 provides, in relevant part:

        ABANDONMENT
        (a) Obtaining Abandonment.
        (1) Request for Abandonment. When a party requests an abandonment and follows the
        notice procedure prescribed in (b) below, and no objection has been filed, that party
        shall prepare and submit to the trustee an abandonment document, which the trustee
        shall execute and return within fourteen (14) days of its receipt.
        ...
        (3) General. The trustee may execute abandonments until the case is closed.

        (b) Notice Procedure in Chapter 7 Cases.
        (1) In § 341 Meeting Notice. . . . The § 341 meeting notice shall also provide that
        further notice to creditors and other parties in interest is not required for the
        abandonment of any property unless a party in interest, before the conclusion of the §
        341 meeting, files a request for further notice of abandonment with service of such notice
        on the trustee, or unless further notice is ordered by the court or required by the trustee.
        (2) Further Notice of Proposed Abandonment. If further notice of proposed
        abandonment is required, the party proposing the abandonment shall give such further
        notice to the party filing the request for such notice, or to any party ordered by the
        court or required by the trustee to receive such further notice.
        (3) Certificate of Service. Any notice under (b)(2) above shall contain a certificate of
        service, indicating that the appropriate parties have been served, and such certificate
        shall be filed.
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        (c) Contents of Notice. A request pursuant to (a)(1) above or a motion pursuant to (a)(2)
        above shall contain:
        (1) A description of the property, and if it is real property, its designated address, if the
        property has an address;
        (2) A statement of the present fair market value of the property or an explanation why the
        statement is unnecessary or unavailable;
        (3) A statement of the payoff amounts of any encumbrances on the property as of the date
        of the filing of the notice or motion, or an explanation why the statement is unnecessary
        or unavailable; and
        (4) A statement that a written objection to the proposed abandonment, together with a
        request for hearing, must be filed and served on the trustee, the debtor, debtor’s attorney
        and the party proposing abandonment, no later than twenty-one (21) days from the date
        of service of the notice or the property may be abandoned without further notice.
        (5) The original notice pursuant to (b)(2) above filed with the court and the copy served
        on the trustee shall contain copies of all documents by which any encumbrances against
        the property were created or perfected, or an explanation why the copies are unnecessary
        or unavailable. The copy of such notice forwarded to creditors shall contain a statement
        that said copies or explanation are on file with the court and available for review by
        interested parties.

        (d) Responsible Party. The creditor requesting and obtaining an abandonment from
        the trustee shall be responsible for insuring that the procedure outlined herein is
        followed. S.D. LBR 6007–1 (emphasis added).


        A party in interest, before the conclusion of the § 341 meeting, filed a request for further

 notices. As such, Creditor’s Notice of Proposed Abandonment provided notice to the parties

 requesting such notice, pursuant to S.D. LBR 6007–1.

        WHEREFORE, Creditor respectfully requested that Debtor's Motion for 21 Days Safe

 Harbor Notice Pursuant to Fed. R. Bankr. P. 9011 be denied.

                                              /s/Edward J. Boll III______________________
                                              Edward J. Boll III, Case Attorney
                                              Ohio Supreme Court Reg. No. 0072982
                                              Mia L. Conner, Case Attorney
                                              Ohio Supreme Court Reg. No. 0078162
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                                                 3
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                                       (513) 241-4094 Fax
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                                       sohbk@lsrlaw.com
                                       Attorneys for Creditor




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                                   CERTIFICATE OF SERVICE


        I hereby certify that a copy of the foregoing was served electronically on the date of filing
 through the court’s ECF System on all ECF participants registered in this case at the email
 address registered with the court and by ordinary U.S. Mail on October 15, 2019 addressed to:

 Leonard Nyamusevya Sr.
 PO Box 314
 Reynoldsburg, OH 43068

                                               /s/Edward J. Boll III______________________
                                               Edward J. Boll III, Case Attorney
                                               Ohio Supreme Court Reg. No. 0072982
                                               Mia L. Conner, Case Attorney
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